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            The Honorable Lewis A. Kaplan
            Daniel Patrick Moynihan United States Courthouse
            500 Pearl Street
            New York, New York 10007

            RE:    Yukos Capital S.A.R.L, et al. v. Feldman, No. 15 civ. 4964 (LAK) (S.D.N.Y.)

            Dear Judge Kaplan:

            We represent the Plaintiffs in the above-captioned action and write to advise the Court of a
            development in the case and to seek leave to file a joint amended Pre-Trial Order. This case is
            scheduled for trial on November 6, 2018.

            On July 13, 2017, Plaintiffs moved for permission to file a Second Amended Complaint asserting
            claims on behalf of Plaintiffs Yukos Capital S.A.R.L. ("Yukos Capital") and Yukos
            Hydrocarbons Investments Limited ("YHIL") for damages resulting from a scheme whereby
            Defendant David Feldman ("Feldman") facilitated the payment of over $3,000,000 in kick-backs
            by a bank with which the Plaintiffs did business, Julius Baer & Co. Ltd. ("Julius Baer"), to
            Feldman's accomplice. The Court granted the motion, and Plaintiffs filed the Second Amended
            Complaint. (Dkt. # 323). The parties subsequently took discovery on the new allegations,
            including document discovery, fact-witness depositions, and the exchange of expert reports.

            We are writing now to inform the Court that Plaintiffs Yukos Capital and YHIL have reached a
            confidential financial settlement with Julius Baer. As a result of this settlement, Plaintiffs will
            no longer seek to recover from Feldman as damages in this action the amounts paid by Julius
            Baer as putative "finder's fees." Plaintiffs, however, still intend to offer at trial evidence of
            Feldman's facilitation of the illicit scheme, as the same is relevant to Plaintiffs' breach-of-
            fiduciary-duty claim seeking disgorgement of compensation paid to Feldman during the period
            of his disloyalty pursuant to the Faithless Servant Doctrine.

            Due to the addition to the case of the claims raised in the Second Amended Complaint and the
            settlement with Julius Baer, as well as the court's decisions on the parties' respective summary
            judgment motions, the Pre-Trial Order filed prior to these events should be amended. Insofar as
            the trial is to begin on November 6, 2018, we respectfully request that the parties be ordered to
            submit a joint amended Pre-Trial Order (and proposed jury instructions as necessary) by
            September 14, 2018.




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        The Honorable Lewis A. Kaplan
        June 14, 2018
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                                                         Respectfully submitted,



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        cc:   Rishi Bhandari, Esq. (counsel for Defendant) (bye-filing)
              Glen Summers, Esq. (co-counsel for Plaintiff Marc Fleischman) (bye-filing)




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